            Case 3:18-cv-00028-WGC Document 184 Filed 10/29/21 Page 1 of 1




 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3                                                             Case No.: 3:18-cv-00028-WGC
     DANIEL HARRINGTON, et. al.,
 4                                                                          Order
            Plaintiff
 5                                                                    Re: ECF No. 183
     v.
 6
     DAVID TACKETT,
 7
            Defendant
 8

 9          Plaintiffs filed their notice indicating that they seek to have the court impose coercive

10 monetary sanctions against Tackett as a result of his being found in civil contempt of this court’s

11 orders. They also wish to reserve their right to bring a motion to amend the judgment from

12 rescission to damages for breach of contract should Tackett not purge his contempt within a

13 reasonable period of time. Additionally, Plaintiffs ask the court to initiate criminal court

14 proceedings, including referral, if necessary, to the United States Attorney for possible

15 prosecution. (ECF No. 183.)

16         Tackett has up to and including November 12, 2021, to file a response. Plaintiffs have up

17 to and including November 19, 2021, to file a reply.

18 IT IS SO ORDERED.

19 Dated: October 29, 2021

20                                                            _________________________________
                                                              William G. Cobb
21                                                            United States Magistrate Judge

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23
